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5

6                              UNITED STATES DISTRICT COURT
7                                      DISTRICT OF NEVADA
8      UNITED STATES OF AMERICA,             )
                                             )
9                         Plaintiff,         )
                                             ) Case No.: 2:09-cr-00302-GMN-PAL
10                  vs.                      )
                                             )
11     JUAN CARLOS MACIAS-CHAVEZ,            ) SECOND MOTION TO EXTEND
        aka Juan Carlos Munguia              ) SURRENDER DATE
12     JOSE ROSALLES,                        )
        aka Don Pancho,                      )
13     IGNACIO FLORES GARCIA,                )
                                             )
14                        Defendants.        )
15           Defendant IGNACIO FLORES-GARCIA by and through his attorney, Gary L.
16     Myers, Esq., hereby presents the following Second Motion to Extend Surrender
17     Date. This Motion is made and based upon the accompanying memorandum of
18     points and authorities, the pleadings and papers on file herein and such
19     argument and evidence as may be presented at the hearing on this Motion, should
20     any occur.
21           Dated:       August 15, 2011
                                             LAW OFFICE OF GARY L. MYERS
22

23
                                             By:______//s//_________________________
24                                               GARY L. MYERS, ESQ., #3120
                                                 7251 W. Lake Mead Blvd., Suite 300
25                                               Las Vegas, Nevada 89128-8359
                                                 Attorney for Defendant
26                                                IGNACIO FLORES GARCIA
27     ///
28     ///



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1                      MEMORANDUM OF POINTS AND AUTHORITIES

2            Defendant IGNACIO FLORES-GARCIA was sentenced by this Court on June
3      23, 2011 to 48 months’ incarceration with a surrender date of September 26,
4      2011. Thereafter, on July 14 (2011) a Motion To Extend Surrender Date, Permit
5      Travel Outside the Jurisdiction and Temporarily Provide Defendant With His
6      Passport (document 155) was filed on behalf of Mr. Flores-Garcia.        The court
7      granted this Motion on the following day (document 156), extending Ignacio’s
8      surrender date until November 25, 2011.        On or about August 3, 2011, the
9      undersigned received a call from Ms. Sandra Bustos, the Pretrial Services’ officer
10     who is supervising Ignacio. At the time of her call, Ignacio was in Ms. Bustos’
11     office, and she stated to the effect that Ignacio had an additional request or need
12     relating to his surrender date. Ms. Bustos stated that Ignacio’s wife, Maria Elena
13     Garcia, who is pregnant with the couple’s first child, has a due date of December
14     17, 2011.   Mr. Flores-Garcia currently plans on discontinuing his employment
15     with Marmaxx Distribution Center shortly before his surrender date; Ignacio has
16     been employed with Marmaxx for approximately 1½ years, and medical insurance
17     for him and his family is provided by Marmaxx.           However, when Ignacio’s
18     employment ends, his insurance coverage likewise will expire. This means that, if
19     Ignacio resigns shortly before his 11/25/11 surrender date, his wife’s labor and
20     delivery will not be covered by insurance, and she may need to have the baby
21     delivered by a different physician than the one who has seen her throughout her
22     pregnancy (and whose bills have been paid by medical insurance).
23           In view of the preceding, Mr. Flores-Garcia respectfully requests and moves
24     that his surrender date be continued until early January, 2012 so that he can
25     continue his employment and thereby continue his insurance coverage during his
26     wife’s labor and delivery.    This request is for a brief additional time after the
27     aforementioned 12/17/11 due date, in case the baby is overdue or there are
28     problems with the delivery.    This additional time also will permit Ignacio to be



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1      present during the birth of his child. Incidentally, Ms. Bustos stated, during the
2      8/3/11 conversation with the undersigned, that (1) she supports this request for
3      an extension of the surrender date, and (2) there has not been the slightest
4      problem, much less any violation, presented by Ignacio during her supervision of
5      him.     Additionally, shortly after the conversation with Ms. Bustos, the
6      undersigned contacted AUSA Bradley Giles to inquire concerning his (Giles)
7      position relating to the subject request, Mr. Giles stated that he would “defer to
8      the discretion of the Court” in this regard.
9             In closing, Mr. Flores-Garcia greatly appreciates the granting of his first
10     request to extend his surrender date and does not at all mean to “go to the well
11     too often” in asserting this second request.          However, Mr. Flores-Garcia
12     respectfully submits that good cause exists for a second surrender date
13     continuance and respectfully requests that this motion be given strong
14     consideration.
15            Dated:       August 15, 2011
                                               LAW OFFICE OF GARY L. MYERS
16

17
                                               By:______//s//_________________________
18                                                 GARY L. MYERS, ESQ., #3120
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19                                                 Las Vegas, Nevada 89128-8359
                                                   Attorney for Defendant
20                                                  IGNACIO FLORES GARCIA
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